      Case 4:18-cv-00504 Document 1 Filed on 02/19/18 in TXSD Page 1 of 5




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MARY HART                                   §
                                            §
       Plaintiff,                           §       Civil Action No. ______________
                                            §
v.                                          §
                                            §
INTERCONTINENTAL                            §       JURY TRIAL DEMANDED
TERMINALS COMPANY, LLC                      §
                                            §
       Defendant.                           §

                         PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff, Mary Hart asks the Court to enter judgment against Defendant Intercontinental

Terminals Company, LLC (“ITC”).

                                           PARTIES

       1.     Plaintiff is an individual residing in Harris County, Texas.

       2.     Defendant is a Delaware corporation with its principal place of business in Harris

County, Texas. It may be served with process through its registered agent, CT Corporation

System at 1999 Bryan St., Ste. 900, Dallas, Texas 75201-3136.

                               JURISDICTION AND VENUE

       3.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331 because

the case is based on The Equal Pay Act, 29 U.S.C. § 206(d), a federal statute, and pursuant to 28

U.S.C. § 1337 because the action is based on a federal statute regulating commerce.

       4.     Venue is proper in the United States District Court for the Southern District of

Texas pursuant to 28 U.S.C. § 1391 because ITC committed all or a substantial portion of the
      Case 4:18-cv-00504 Document 1 Filed on 02/19/18 in TXSD Page 2 of 5




unlawful employment practices in Deer Park, Harris County, Texas, located within the Southern

District of Texas – Houston Division.

                                         NATURE OF THE CASE

       5.         This case arises from ITC violating The Equal Pay Act, 29 U.S.C. § 206(d). ITC

unlawfully discriminated and retaliated against Ms. Hart because of her gender. It discriminated

and retaliated against Ms. Hart by, among other things, ostracizing, marginalizing, threatening,

verbally abusing and intimidating her. ITC had a policy and practice not to treat females fairly,

provide them equal opportunity for advancement or pay them the same or similarly to their male

counterparts.

                                         STATEMENT OF FACTS

       6.         Defendant operates a large quantity storage facility in Deer Park, Texas,

providing terminal services to the petrochemical industry (“ITC Deer Park”). Its field operations

involved 239 tanks with a capacity of nearly 13 million barrels. It stored hazardous materials

and petrochemical liquid and gas, as well as fuel oil, bunker oil, and distillates. ITC’s facilities

include multiple ship and barge docks, rail and truck access, and pipeline connections.

       7.         ITC employed Ms. Hart from March 6, 1990 to November 19, 2017.

       8.         ITC constructively terminated Ms. Hart on November 17, 2017.

       9.         ITC first employed Ms. Hart as an Environmental Lab Technician.

       10.        ITC employed at least three hundred employees at its Deer Park, Texas location.

Ms. Hart was the only ITC female field operations employee.1

       11.        Within three months of ITC hiring Ms. Hart, ITC transferred other employees

working in the lab to other positions, leaving only Ms. Hart to run the lab. Over the years, ITC

gave Ms. Hart occasional, small pay raises, but it never promoted her to management or
       1
           ITC employed other females during Ms. Hart’s 28-year tenure but only in administrative capacities.
      Case 4:18-cv-00504 Document 1 Filed on 02/19/18 in TXSD Page 3 of 5




supervisory positions despite her repeatedly applying for promotions and other jobs for which

she was imminently qualified. ITC always promoted males to these positions although the

promoted males were almost always less qualified and experienced.

       12.     On or about January 5, 2015, ITC told Ms. Hart it was promoting her to the

Hazardous Waste Specialist position vacated by another male employee, who was promoted to

Lead Environmental Supervisor. ITC told Ms. Hart that it would not transition her to the

specialist position or increase her pay (commensurate with the promotion) until she completed

training her replacement and completed training for the specialist position. ITC gave both males

pay raises immediately before either completed training for their new positions.

       13.     On or about March 12, 2015, Ms. Hart officially assumed her new position as

Hazardous Waste Specialist but she continued to work with Mr. Bass for purported additional

training, such training being unnecessary and merely a pretext for refusing her a pay raise. Ms.

Hart had backed-up the Hazardous Waste Specialist position for 12 years substituting for the

position any time the hazardous waste specialist was vacationing or sick

       14.     Finally, on or about April 28, 2015, Ms. Hart completed “training” with Mr. Bass.

ITC never gave her the promised raise.

       15.     ITC denied Ms. Hart’s vacation or sick day requests if a male employee requested

vacation leave at the same time. ITC consistently granted its male employees vacation and sick

days upon request.

       16.     ITC denied Ms. Hart step-up pay--an increased pay rate whenever an employee

fills in for another employee. ITC consistently paid its male employees step-up pay.

       17.     ITC either denied or severely limited Ms. Hart’s overtime. ITC consistently

granted and paid its male employees overtime as needed or wanted.
      Case 4:18-cv-00504 Document 1 Filed on 02/19/18 in TXSD Page 4 of 5




       18.    Ms. Hart performed exceptionally in every position she held with ITC. She

attended numerous continuing education courses obtaining specialized certifications and

licenses, for both of which her male counterparts received additional pay, advancement or other

benefits.

       19.    Male employees Ms. Hart trained earned higher wages/salary than Ms. Hart

during the period of time she trained them and when ITC promoted them over her.

       20.    ITC’s actions, and inaction, created a “boys only” club where it allowed only

male employees to advance.

                             VIOLATION OF EQUAL PAY ACT

       21.    Paragraphs 6 through 20 are incorporated herein by reference.

       22.    ITC is an “employer” within the meaning of 29 U.S.C. § 203(d).

       23.    Ms. Hart, a female employee, was paid less than male employees performing the

same or similar jobs requiring similar skill, effort, and responsibility in similar working

conditions. Ms. Hart received lower hourly wage or salary, overtime pay, bonuses, paid vacation

and holidays, benefits, and other forms of compensation than similarly situated male employees.

       24.    The acts, failures, practices and policies of ITC set forth above constitute willful

discrimination with respect to salary, bonuses, and all other forms of compensation paid to

females versus males for substantially equal work on jobs requiring equal skill, effort and

responsibility and performed under similar working conditions in violation of the Equal Pay Act

(“EPA”) of the Fair Labor Standards Act, 29 U.S.C. § 206(d).

                                 JURY TRIAL DEMANDED

       25.    Ms. Hart demands a trial by jury on all triable issues.
      Case 4:18-cv-00504 Document 1 Filed on 02/19/18 in TXSD Page 5 of 5




                                   REQUEST FOR RELIEF

       26.     Ms. Hart respectfully requests that the Court issue citation and upon trial of this

cause, grant judgment in Ms. Hart’s favor and against the ITC for the aforesaid intentional

violations of the Equal Pay Act as follows:

       a. compensatory damages, including back Pay;

       b. liquidated damages for Defendant’s willful violations of the Equal Pay Act;

       c. attorneys’ fees and costs of the suit; and

       d. such other relief as this Court deems equitable and just.

                                                       Respectfully submitted,

                                                       THE GREENWOOD LAW FIRM, PLLC
                                                       /s/ Sean Greenwood
                                                       Sean Greenwood
                                                       Attorney-in-Charge
                                                       State Bar No. 08408730
                                                       SDTX ID: 15015
                                                       3939 Washington Avenue, Suite 200
                                                       TEL: (832) 356-1588
                                                       FAX: (832) 356-1589
                                                       EMAIL: sean@gwoodlaw.com

                                                       ATTORNEY FOR PLAINTIFF,
                                                       MARY HART
